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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

JON MOORE,                        )
                                  )
                Plaintiff,        )                     Case No. 1:23-cv-1389-CFC
                                  )
        v.                        )
                                  )
APPLIED MOLECULAR TRANSPORT INC., )                     JURY TRIAL DEMANDED
SHAWN CROSS, CHARLENE BANARD,     )
TAHIR MAHMOOD, HOLLY SCHACHNER, )
JOHN W. SMITHER, and AARON        )
VANDEVENDER,                      )
                                  )
                Defendants.
                                  )
                                  )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants

have neither served an answer or a motion for summary judgment in the Action.

 Dated: February 22, 2024                             LONG LAW, LLC

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